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                                                                                                                    EXHIBIT
                                            PROMULGATED BY THE TEXAS REAL ESTATE COMMISSION (TREC)                                                                      11-2-2015


                EQUAL HOUSING
                                                                                AMENDMENT
                OPPORTUNITY
                                                   TO CONTRACT CONCERNING THE PROPERTY AT
                                         5450 Honea Egypt Rd                                                                     Montgomery
                                                                               (Street Address and City)

                Seller and Buyer amend the contract as follows: (check each applicable box)
               H     (1) The Sales Price in Paragraph 3 of the contract is:
                         A. Cash portion of Sales Price payable by Buyer at closing           $
                         B. Sum of financing described in the contract                        $
                         C. Sales Price (Sum of A and B)                                      $
                 ”| (2) In addition to any repairs and treatments otherwise required by the contract, Seller, at Seller's
                         expense, shall complete the following repairs and treatments:




                  ] (3) The date in Paragraph 9 of the contract is changed to                           ,             .
                  ] (4) The amount in Paragraph 12A(1)(b) of the contract is changed to $                             .
                  ] (5) The cost of lender required repairs and treatment, as itemized on the attached list, will be paid
                                as follows: $                                           by Seller; $                             by Buyer.
                  ] (6) Buyer has paid Seller an additional Option Fee of $                                                   for an extension of the
                                unrestricted       right       to      terminate             the     contract   on or before 5:00 p.m. on
                                                                                         ,                . This additional Option Fee Q will Q will
                                not be credited to the Sales Price.
                  ] (7) Buyer waives the unrestricted right to terminate the contract for which the Option Fee was paid.
                  ] (8) The date for Buyer to give written notice to Seller that Buyer cannot obtain Buyer Approval as
                        set forth in the Third Party Financing Addendum is changed to                             ,       .
                 X| (9) Other Modifications: (Insert only factual statements and business details applicable to this sale.)
                                AS-IS no repairs

                                Buyers name has changed to Alliance Farm and Ranch LLC.

                                Brokers bonus per listing agreement has changed and is to be disbursed as follows:
                                10,000 to selling agent / Jeana Hurley, and 40,000 to listing agent / Holly Rosser

                EXECUTED the        day of                                                                                   ,           . (BROKER: FILL IN THE
                DATE OF FINAL ACCEPTANCE.)                                                                  A   kL   >   i



                                     x    DocuSigned by:


                                         .VaZ Furr                                                     L- 3/29/2022, 120 1!13 AM GMT
                                                                                                                                                             03/29/2022


                Buyer Allian :e-Farmand:Ranch LLC                                                       seller Erik Listrander
                                                                                                        — AuthentisiGN
                                                                                                          5)a^a (httattdet                                   03/28/2022

                Buyer



                      This form has been approved by the Texas Real Estate Commission for use with similarly approved or promulgated contract
                      forms. Such approval relates to this form only. TREC forms are intended for use only by trained real estate license holders.
                      No representation is made as to the legal validity or adequacy of any provision in any specific transactions. It is not intended
                      for complex transactions. Texas Real Estate Commission, P.O. Box 12188, Austin, TX 78711-2188, 512-936-3000 (http://
                      www.trec.texas.gov ) TREC No. 39-8. This form replaces TREC No. 39-7.


          (TXR-1903)                                                                                                                                           TREC NO. 39-8
    RE/MAX Integrity, 19510 Kuykendahl Spring TX 77379                                                                  Phone: 8326310651             Fax: 8324823978           Erik and Darla
    Holly Rosser                             Produced with Lone Wolf Transactions (zipForm Edition) 231 Shearson Cr. Cambridge, Ontario, Canada N1T 1J5 www.lwolf.com
